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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION

DERRICK JONES, JEROME                 )
JONES DARNELL RUSAN, and              )
MARREL WITHERS,                       )
                                      )
      Plaintiffs,                     )
                                      )
vs.                                   )       Case No. 4:21-cv-600
                                      )
CITY OF ST. LOUIS, et al.,            )
                                      )
                                      )
      Defendants.                     )

 DEFENDANTS’ RESPONSE TO PLAINTIFFS’ EMERGENCY MOTION
             TO PRESERVE RELEVANT VIDEOS

      COME NOW, Defendants, by undersigned counsel, and for their Response

To Plaintiffs’ Emergency Motion To Preserve Relevant Videos state as follows:

      In what must be considered the introduction to Plaintiffs’ rather breathless

motion Plaintiffs make several inflammatory, derogatory, and inaccurate factual

representations.

      First, Plaintiffs indicate that Defendants are withholding relevant evidence in

this case. Plaintiffs do not dispute that Defendants have already produced in excess

of 14,000 pages of documents and video recordings in this case, including video of

Plaintiffs’ now convicted carjacker, Derrick Jones, attacking Lt. Aisha Jones and

Plaintiff Darnell Rusan attacking Lt. Shirley Richards. Defendants have and


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continue to produce documents in this case in response to discovery according to

the federal rules of civil procedure. Plaintiffs’ representations to this Court relative

to Defendants’ document production is inaccurate.

      Second, Defendants have not destroyed any relevant and discoverable

evidence. Plaintiffs’ claims concern four discrete individuals: Derrick Jones,

Jerome Jones, Darnell Rusan, and Marrell Withers. As previously mentioned,

Defendants have preserved and Plaintiffs have been provided all video footage that

has been recorded relative to use of force involving Derrick Jones as referenced in

Plaintiff’s Exhibit A, Doc. #239-1, and for that matter, the other three defendants

in this case as well.

      The City Justice Center (hereinafter “CJC) records video images of all its

security cameras automatically. These images remain in the camera control system

for 60 days, at which point the camera system automatically overwrites the images

with new image data. Exh. A, Deposition of the City of St. Louis’ Corporate

Representative, Edward Roth, January 6, 2023 (hereinafter “Roth”) 22:19-23;

23:9-25; 24:1-2, 24-25; 25:1-19. Defendant City of St. Louis has the ability to

download image data if and when data from a specific date or involving specific

individuals is requested within that 60-day period. As the record, or more precisely

absence of a record reflects, Plaintiffs made no such request within the aforesaid

60-day period.


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      At no time did Defendants or any of their agents ever agree that Defendants

would alter CJC procedures and download every video image of any use of Oleo

Capsicum (hereinafter “OC”) spray within the confines of the CJC at any time in

perpetuity. Any representation by Plaintiffs to the contrary is patently false.

      Plaintiffs’ representations are not only false, but obviously so. The CJC is

currently operating with critically low staffing levels. Doc. #207-3. As such, it

would be virtually impossible for CJC staff to review the millions of images from

every camera in the CJC operating every day and night, manually download them,

and provide storage for them indefinitely, all based on the premises that someone

may decide at some point after 60 days that they might want to see it. Exh. A, Roth

27:8-25, 28:1-15. Such a proposition is an undue burden on the taxpayers of the

City of St. Louis and certainly not proportional to the needs of this case.

      Third, there is no evidence that any Defendant in this case or any corrections

officer of the CJC ever used mace against anyone. The CJC may on occasion

employee the use of OC spray, but does not use mace in any capacity in its

operations and certainly not against detainees. Exh. B, Deposition of Sherry

Richards, September 7, 2022, 99:24-25; 100:1-6.

                                   CONCLUSION

      Plaintiffs have made wild accusations against Defendants for which they

have no factual basis. For the foregoing reasons, and because they are not relevant,


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Defendants pray this Court deny Plaintiffs’ Emergency Motion To Preserve

Relevant Videos.

                                                Respectfully submitted,

                                                SHEENA HAMILTON,
                                                CITY COUNSELOR

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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2023 the foregoing was filed electronically

with the Clerk of the Court to be served by operation of the Court’s electronic filing

system upon all attorneys of record.



                                                /s/ Lawrence Pratt




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